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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF OKLAHOMA


 JA’LEE FOREMAN, JR., DANIEL  )
 HEDRICK, JOSEPH MITCHELL,    )
 and JOHN BASCO,              )
                              )
              Plaintiffs,     )
                              )
 -vs-                         )                   Case No. CIV-21-1062-F
                              )
 OKLAHOMA COUNTY SHERIFF,     )
 OKLAHOMA COUNTY CRIMINAL )
 JUSTICE AUTHORITY, BOARD OF )
 COUNTY COMMISSIONERS FOR     )
 OKLAHOMA COUNTY,             )
 CHRISTIAN CHARLES MILES, and )
 GREGORY CORNELL BUTLER,      )
 JR.,                         )
                              )
              Defendants.     )


                                       ORDER

      On April 13, 2022, the court entered an order granting Defendants Gregory
Butler and Christian Miles’ Motion to Stay Civil Proceedings, doc. no. 27, and
staying this case until September 30, 2022, unless the criminal case against
defendants was finally resolved prior to that date. The court also directed defendants
to file on September 30, 2022, a report as to the status of the criminal case, and if
the criminal case was finally resolved prior to that date, the court directed defendants
to so advise within 10 days of final resolution. See, doc. no. 33.
      On September 30, 2022, defendants filed a Notice to the Court and Request
to Continue Stay of Civil Proceedings. Doc. no. 35. Defendants represent the
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criminal case against them (CM-2020-3083) is still proceeding. Defendants state
that the district court reset a hearing on motions and a status conference for
December 1, 2022. Defendants state that if the criminal case survives dismissal after
the hearing, they anticipate the criminal case will be set for trial in Spring 2023.
        Plaintiffs have not responded in opposition to defendants’ request within the
time specified by LCvR7.1(g). Pursuant to that rule, the court, in its discretion,
deems the request confessed by plaintiffs.
        Upon independent review of the confessed motion, the court, in its discretion,
concludes that defendants’ request should be granted, and the stay of this case
continued pending resolution of the criminal case against defendants.
        Accordingly, Defendants Christian Miles and Gregory Butler, Jr.’s Request to
Continue Stay of Civil Proceedings (doc. no. 35) is GRANTED. The case remains
STAYED until April 25, 2023, unless the criminal case is finally resolved prior to
that date. Defendants are not required to answer or otherwise respond to plaintiffs’
operative pleading until ordered by the court.
        Defendants Miles and Butler are DIRECTED to file, no later than April 25,
2023, a report as to the status of the criminal case. If the criminal case is finally
resolved prior to that date, defendants are directed to advise the court within 10 days
of the final resolution.
        IT IS SO ORDERED this 25th day of October, 2022.




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